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                  Exhibit A
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How did California police destroy 10
million cannabis plants?
Cmdr. Ian Chandler from the Kent County Sheriff's Of ce said the 40 million
pounds of plants would've taken about 20,000 truckloads to move from the site, so
they had to get creative
Bobby Hristova
Nov 06, 2019 • Last Updated 1 year ago • 3 minute read




An image of the 10 million pot plants found in California PHOTO BY KERN COUNTY SHERIFF'S OFFICE




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The FBI took part in a joint investigation with California police to nd and destroy 10 million marijuana
plants that were thought to be hemp elds.

Detectives from the Kern County Sheriff’s Of ce (KCSO) along with the FBI, think the 11 elds of plants
in Arvin, roughly 200 km north of Los Angeles, are worth more than $1 billion on the black market.




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“These illicit marijuana gardens were grown under the guise of legitimate hemp production,” read a
KCSO release.


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                      legal hemp




While the release noted the plants were cannabis and testing “well over” the legal 0.3 per cent THC
content limit for industrial hemp, KCSO Cmdr. Ian Chandler said in a phone interview that the plants
actually were hemp being grown by a research company that became marijuana, which was problematic
because the rm was selling the product.

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“Most of the plants were at 7 per cent, that’s 200 times the level acceptable by the law,” he said. “They
tried to get the best out of the plant by using hybrids… I’m not a scientist but it was basically 1990s
grade weed.”


40 million pounds and four and a half days
Derek Pedro, a former illicit grower turned WeedMD’s chief cannabis of cer, said the of cers probably
didn’t have many options in trying to destroy the crops.




“I’m assuming they are going to cut it as close to
the ground as they can, and the plants above the
soil they’re probably going to incinerate that … I’d
love to be downwind of that,” he joked. “And the
rootstock for good measure, they’ll plow it.”
Though, burning the crops would come in the wake of wild res that have decimated California,
including the fatal blaze in the town of Paradise that killed 85 people and ames that continue to burn
in Kincade and other cities towards the southern part of the state.

Pedro says that leaves one more alternative.

 “They’ll put a giant hole in the ground and ll it in like they used to 10 or 15 years ago. The only
 problem with that is there will be cannabinoids released into the environment … it will get into the
 water ” he said
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water, he said.
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             Kern County Sheriff's Office
             about a year ago

   Hemp fields in Arvin determined to be cannabis
   The Kern County Sheriff’s Office received information about several hemp
   cultivation sites that were actively cultivating cannabis. The Kern County
   Sheriff’s Office, with the assistance of California Department of Fish and
   Wildlife (CDFW), and Federal Bureau of Investigation (FBI), initiated a joint
   investigation.
   On October 25, 2019, a search warrant was executed at eleven different
   fields in the Arvin area, amounting to over 45... See More




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Cmdr. Chandler said the 40 million pounds of plants would’ve taken about 20,000 truckloads to move
from the site, so they had to get creative.

“We used a rototiller to grind all the plants and put them back in the soil. It won’t grow again because of
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how the plant  decomposes,
             Case           it had no buds,” heDocument
                   1:20-cv-00522-NONE-JLT      said, adding thatFiled
                                                          62-1  they 11/24/20
                                                                      were still calculating
                                                                                  Page 6 of 8exactly how
much it cost to wipe out the weed.



“It took four and a half days and we’re talking numerous pieces of equipment and lots of help from
farmers to get this stuff down.”


                                                                STORY CONTINUES BELOW




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Cmd. Chandler did not con rm if of cers laid any charges and said the investigation is ongoing.


U.S. is the ‘wild west’
Pedro called the U.S. the “wild west” and thinks a case of cannabis grow operations like this will be one
of many.

Burning the crops would come in the wake of wild res that have decimated California, including the
fatal blaze in the town of Paradise that killed 85 people and ames that continue to burn in Kincade and
other cities towards the southern part of the state.

He wasn’t surprised police didn’t initially spot the cannabis because it is near impossible to tell the
difference between hemp and marijuana.




Pedro also thinks it “for sure” cost the police
millions of dollars to destroy the pot, but added
there’s a solid chance the plant will regrow in the
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same area    due to surviving
     Case 1:20-cv-00522-NONE-JLT       seeds.
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“The further south you go, there’s a chance if you cut a plant and leave a branch, enough for
photosynthesis, it’ll regenerate in the spring again when the rain comes,” he said.

“I will not be surprised if next year, in the very same spot where there’s no cannabis at all, cannabis
plants show up. ‘Move along, nothing to see here,’ he’s probably going to plant corn all around that and
leave the middle.”

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